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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                     MONROE DIVISION

    JILL HINES, ET AL.                              CIVIL ACTION NO. 3:23-CV-00571

    VERSUS                                          CHIEF JUDGE TERRY A. DOUGHTY

    ALEX STAMOS, ET AL.                             MAGISTRATE JUDGE MCCLUSKY


                                               ORDER

             Considering the Motion for Leave to File Unopposed Motion for Extension of Time to File

   Responsive Pleadings to Plaintiffs’ First Amended Complaint [Doc. #__] filed on behalf of

   defendant The Aspen Institute,

             IT IS ORDERED that the Motion for Leave [Doc. #___] be and is hereby GRANTED,

   and that defendant The Aspen Institute’s Unopposed Motion for Extension of Time be filed in the

   record.

             SIGNED this _____ day of ______________, 2023, in _______________, Louisiana.




                                                 ____________________________________
                                                          TERRY A. DOUGHTY
                                                   UNITED STATES DISTRICT JUDGE




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